 

Case 2:22-cv-00223-Z Document 13 Filed 12/08/22 Pageiofi PagelD 1901

IN THE UNITED STATES DISTRICT COURT

 

   
 

FOR THE NORTHERN DISTRICT OF TEXAS | wort nie ICP COURT
AMARILLO DIVISION Vy CD OV TENAS

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ALLIANCE FOR HIPPOCRATIC
MEDICINE, et al.,

 

Plaintiffs,
Vv. 2:22-CV-223-Z

U.S. FOOD AND DRUG
ADMINISTRATION, e¢ al.,

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Defendants.
ORDER

Before the Court is Plaintiffs’ Joint Motion to Extend Deadlines and Set Briefing Schedule
(“Motion”) (ECF No. 12), filed on December 2, 2022. Having considered the Motion and relevant
law, the Court GRANTS the Motion. Defendants must respond to Plaintiffs’ Motion for
Preliminary Injunction (ECF No. 6) on or before January 13, 2023. Plaintiffs may reply to
Defendants’ response on or before February 10, 2023.

The Court STAYS Defendants’ deadline to answer or otherwise respond to the Complaint
(ECF No. 1) until the Court resolves Plaintiffs’ Motion for Preliminary Injunction. Within two
weeks of the Court’s ruling on Plaintiffs’ Motion for Preliminary Injunction, parties must jointly

propose a new answer or response deadline.

SO ORDERED.
December g. 2022 Vana
MAYTHEW J. KACSMARYK

TED STATES DISTRICT JUDGE

 

  
